     Case 2:23-cv-00287-DJC-CKD Document 8 Filed 04/17/23 Page 1 of 2


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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11       JOSHUA JORDAN                                 No. 2:23-cv-00287-DJC-CKD (PS)

12                       Plaintiff,                    ORDER

13            v.
14       MATTHEW PROVINS,
15                       Defendant.
16

17

18           Plaintiff, Joshua Jordan, filed this fee paid complaint against defendant, Matthew Provins,

19   on February 16, 2023. (ECF No. 1.) Plaintiff effected service of process on defendant on March

20   7, 2023. (ECF No. 4.) On March 24, 2023, defendant filed a motion to participate in electronic

21   case filing and request for extension of time to respond to the complaint. 1 (ECF No. 5.)

22           I.     Defendant’s motion for extension of time

23           The court finds good cause for defendant’s request for extension of time to respond to the

24   complaint, as defendant proceeds pro se and his mobility is impaired due to a physical disability.

25   (ECF No. 5.) Accordingly, defendant’s request for extension of time to respond to the complaint

26   is GRANTED. Defendant shall file a response to plaintiff’s complaint within fourteen days of

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      This action is referred to the undersigned pursuant to 28 U.S.C. § 636, Federal Rule of Civil
28   Procedure 72, and Local Rule 302(c)(21).
                                                       1
      Case 2:23-cv-00287-DJC-CKD Document 8 Filed 04/17/23 Page 2 of 2


 1   this order.

 2              II.      Parties’ motions to participate in electronic case filing

 3              Defendant filed a motion to participate in electronic case filing on March 24, 2023. (ECF

 4   No. 5.) Generally, “any person appearing pro se may not utilize electronic filing except with the

 5   permission of the assigned Judge or Magistrate Judge.” See E.D. Cal. L.R. 133(b)(2).

 6   Defendant’s motion for electronic case filing does not provide good cause for deviance from the

 7   Local Rule applicable to unrepresented litigants. Accordingly, defendant’s motion to participate

 8   in electronic case filing is denied.

 9              Plaintiff filed a motion to participate in electronic case filing on March 30, 2023. 2 (ECF

10   No. 6.) Plaintiff’s motion for electronic case filing does not establish good cause under the Local

11   Rules. Accordingly, plaintiff’s motion for electronic case filing is DENIED.

12              At the current stage in the proceedings, the court denies both parties’ motions to

13   participate in electronic case filing. However, the court will entertain a motion to participate in

14   electronic case filing from either party at a later stage in the proceedings if the moving party has

15   not abused the filing procedures.

16                                                       ORDER

17              It is HEREBY ORDERED that:

18              1. Defendant’s motion to participate in electronic filing is DENIED; (ECF No. 5;)

19              2. Defendant’s request for an extension of time to respond to plaintiff’s complaint is

20                    GRANTED. (ECF No. 5.) Defendant shall respond to plaintiff’s complaint within

21                    fourteen days of this order; and

22              3. Plaintiff’s motion to participate in electronic filing is DENIED. (ECF No. 6.)

23   Dated: April 17, 2023
                                                           _____________________________________
24
                                                           CAROLYN K. DELANEY
25   21, jord.287                                          UNITED STATES MAGISTRATE JUDGE

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27     The court acknowledges plaintiff’s response to defendant’s request for extension of time.
     However, defendant has shown good cause for the extension of time notwithstanding plaintiff’s
28   response.
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